

Matter of National Fuel Gas Supply Corp. v Gurov (2020 NY Slip Op 04123)





Matter of National Fuel Gas Supply Corp. v Gurov


2020 NY Slip Op 04123


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, NEMOYER, AND BANNISTER, JJ. (Filed July 17, 2020.) 


MOTION NO. (59/20) CA 19-01227.

[*1]IN THE MATTER OF NATIONAL FUEL GAS SUPPLY CORPORATION, PETITIONER-RESPONDENT, 
vIVAN GUROV, RESPONDENT-APPELLANT, ET AL., RESPONDENTS. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion insofar as it seeks leave to reargue is deemed a motion seeking leave to renew (see CPLR 2221 [e] [2]; Baluk v New York Cent. Mut. Fire Ins. Co., 126 AD3d 1426, 1426-1427 [4th Dept 2015]), the motion is granted and, upon renewal, the memorandum and order entered January 31, 2020 (179 AD3d 1453) is amended by deleting the ordering paragraph and memorandum and substituting the following ordering paragraph: "It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs (see Matter of National Fuel Gas Supply Corp. v Schueckler, - NY3d -, 2020 NY Slip Op 03563 [June 25, 2020])."








